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               EXHIBIT A
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                                                                 U.S. Department of Justice
                                                                 United States Attorney
                                                                 District of Vermont



United States Courthouse and Federal Building
Post Office Box 570                                                                                    (802) 951-6725
Burlington, Vermont, 05401-0570                                                                   Fax: (802) 951-6540


                                                                 May 1, 2024

Via USAfx
Susan K. Marcus, Esq.
Law Firm of Susan K Marcus LLC
29 Broadway Suite 1412
New York, NY 10006

          Re:        Expert Disclosure - United States v. Serhat Gumrukcu

Dear Susan,

       The United States contends that some of the anticipated testimony provided in the
disclosures is lay witness testimony under Rule 701 and, therefore, does not need to be disclosed
as potential expert testimony pursuant to Rules 702 and 703 of the Federal Rules of
Evidence. Additionally, some of the testimony provided by experts will not contain opinion
testimony. However, in an abundance of caution, the following disclosures are provided
pursuant to Federal Rule of Criminal Procedure 16(a)(1)(G).

     1. Elizabeth M. Bundock, Chief Medical Examiner, Vermont Office of the Chief Medical
        Examiner and Steven L. Shapiro, (retired) former Chief Medical Examiner, Vermont
        Office of the Chief Medical Examiner.
     2. Hannah E. Erwin, Digital Forensic Examiner, Federal Bureau of Investigation and
        Roderick W. Link, III, Computer Scientist, Federal Bureau of Investigation.
     3. Emine Fougner, Translator, JTG Inc. (We anticipate some additional material in the near
        future.)
     4. Kevin P. Hoyland, Special Agent, Federal Bureau of Investigation. (We have included
        files identifying AT&T and Verizon tower lists from NDCAC used by Agent Hoyland as
        reference in his analysis.)
     5. Kristen L. Scott, Senior Digital Investigative Analyst, U.S. Department of Justice
        Cybercrime Lab.
     6. Richard Westfall, Forensic Accountant, Federal Bureau of Investigation.
     7. Justin Woodford, Special Agent, Federal Bureau of Investigation.

       The government may call FBI Digital Forensic Examiner Vicki Klemz and FBI Digital
Forensic Examiner Baldwin Ditrin. Examiner Klemz extracted data from various devices
seized at Mr. Gac’s residence in Minnesota in early 2018 and Mr. Ditrin has supervised
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extractions of various devices for FBI Albany CART Team. We don’t believe that expert
disclosures are necessary for these witnesses who merely conducted extractions but out of an
abundance of caution we have included their CVs.

       Please let us know if you have any questions.

                                                   Sincerely,

                                                   NIKOLAS KEREST
                                                   United States Attorney

                                            By:    /s/ Paul Van de Graaf
                                                   Paul Van de Graaf
                                                   Zachary B. Stendig
                                                   Assistant U.S. Attorneys

cc: Ethan A. Balogh, Esq. (letter only)
    Lisa B. Shelkrot, Esq. (letter only)
